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                                                          U.S. DISTRICT COURT
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                  IN THE UNITED STATES DISTRI
                       NORTHERN DISTRICT OF T XAS              FILED                    '


WADE ALLEN DELK,
                           FORT WORTH DIVISION


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                                     §
                                                          F         s 2011
                                                                   .. .....    ... J
                                                      CLERK, U.S. DISTRICT COURT
                                                     By~~~~~~~~~-
            Plaintiff,               §                           Deputy
                                     §
VS.                                  §   NO. 4:17-CV-605-A
                                     §
KENNETH DEAN MARTIN,                 §
                                     §
            Defendant.               §



                         ORDER SETTING SCHEDULE
              AND PROVIDING SPECIAL PRETRIAL INSTRUCTIONS

      The court, having considered and reviewed the status report

submitted by the parties, finds that the following order should

be entered.     In addition to fixing a schedule, this order

provides important, special pretrial instructions that the

parties must bear in mind as the trial date approaches.

      The court ORDERS that:

      1.   Any motion for leave to join other parties to this

action shall be filed by December 8, 2017.           Any motion for

summary judgment shall be filed at least seventy-five (75) days

prior to the scheduled pretrial conference date.             A motion for

summary judgment will be filed separately and will not include

any other motion.    A motion for continuance pursuant to Fed. R.

Civ. P. 56(d) will be filed separately and will not be included

in a summary judgment response or any other document.
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     2.   Any motion for leave to amend pleadings must be filed by

November 15, 2017.

     3.   All discovery must be initiated in time to allow

completion of discovery by January 16, 2018.          After that date, no

discovery may be conducted and no discovery motion, other than a

motion under Fed. R. Civ. P. 37(d), may be filed without an order

extending the discovery deadline upon a showing of good cause.

     4.   Any motion, other than the motions described in items 1-

3 above and motions in limine, shall be filed at least thirty

(30) days prior to the scheduled pretrial conference date.

     5.   A pretrial order in compliance with the attached special

pretrial instructions shall be presented to the Court by 12:00

o'clock noon three (3) business days prior to the pretrial

conference, which is hereby set for 9:30 a.m. on February 5,

2018, Room 401, U.S. Courthouse, Fort Worth, Texas.           Any motions

that have not been previously disposed of will be heard at the

pretrial conference, as appropriate.

     6.   This case is set for a non-jury trial the week of

March 26, 2018, with docket call at 9:00 a.m. on that date.

Each party, and counsel for each party, to this action and each

witness who is to testify at the trial are to be present at such

time and date in the Fourth Floor Courtroom of the United States

Courthouse, Fort Worth, Texas.

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        7.    No later than Monday one week. prior to the scheduled

trial date each party shall file with the Clerk. (i) a witness

list,    (ii) an exhibit list,   (iii) an agreed summary, accompanied

by appropriate page and line references, of portions of each

deposition, other than portions to be offered by video, to be

offered at trial, and (iv), if set for non-jury trial, proposed

findings of fact and conclusions of law, or, if set for jury

trial, a proposed jury charge and verdict form.

        8.    The parties shall not file depositions or exhibits prior

to trial, but shall have the originals and one copy thereof

available immediately prior to trial.        Each exhibit that will be

offered at trial shall bear the case number of this action in

addition to the exhibit number and identity of offering party.

        9.    The witness list contemplated by paragraph 7 above will

be accompanied, when it is filed, by a statement as to each

witness of each subject matter upon which the witness will be

ask.ed to testify.      The witness list will include two columns, one

bearing the heading "Sworn" and the other bearing the heading

"Testified" so that the court can k.eep track. of the witnesses at

trial.

        10.   The exhibit list contemplated by paragraph 7 above

shall be accompanied, when it is filed, by a statement signed by

counsel for each party, other than the party who will be offering

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the exhibit, stating as to each exhibit shown on the list either

that the parties agree to the admissibility of the exhibit or the

nature and legal basis of any objection that will be made to the

admissibility of the exhibit and the identity of the party or

parties who will be urging the objection.           All parties are

required to cooperate in causing such statements to be prepared

in a timely manner for filing with the exhibit lists.             The party

proposing to offer an exhibit shall be responsible for

coordinating activities related to preparation of such a

statement as to the exhibit he proposes to offer.            No exhibit

will be offered at the trial of this case unless such a statement

has been timely filed as to the exhibit.            The exhibit list will

include two columns, one bearing the heading "Offered" and the

other bearing the heading "Admitted."

     11.   No party will adopt any motion or pleading filed by any

other party; and, the court will not entertain a motion to adopt.

No party is permitted to adopt as, or in, the party's witness

list or exhibit list all or any part of the witness list or

exhibit list of another party.

     12.   All deposition testimony to be offered at trial shall

be offered in summary, rather than question and answer, form.

The offering party shall be responsible to obtain agreement of




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counsel 1 for all other parties to the accuracy of the proposed

summary.        Agreement of counsel as to proposed summaries shall be

reached before the agreed summaries are filed, as required by

paragraph 7 above.

        13.     If there is a possibility that a party will use at

trial any video or audio recording, other than a videotaped

deposition, or any transcript of such a recording, such party

shall notify the court of that fact no later than January 29,

2018, by the filing of a document advising of such possible use

and describing each such item the party might use at trial.

        14.     Not more than fifteen minutes of videotaped deposition

testimony will be offered by any party from any deposition.

Counsel shall reach agreement in advance of trial as to any

objections related to testimony to be offered by videotape or, if

agreement cannot be reached, shall present the disagreement to

the court for resolution at least two weeks prior to the

scheduled trial date.                If less than an entire videotaped

deposition is offered, it will be offered by means of an

appropriately edited tape to which all parties have agreed.

        15.     At least 120 days before the pretrial conference date,

each party shall designate experts, and comply with the


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         The term "counsel" as used herein includes prose parties. For example, the term "plaintiffs
counsel" means the plaintiff himself or herself if proceeding pro se.

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requirements of Fed. R. Civ. P. 26 (a) (2),         (1) by filing in this

action a written designation giving the name, address, telephone

number, and subject matter of the proposed expert testimony of

each expert who may be called to testify, and (2) by serving on

the opposing parties the disclosures and reports required by Rule

26 (a) (2).

      16.     At least ten (10) days before the pretrial conference

and again at least fourteen (14) days prior to trial, the parties

and their respective lead counsel shall meet face-to-face to

discuss settlement of this action.         Individual parties and their

counsel shall participate in person, not by telephone or other

remote means.     All other parties shall participate by a

representative or representatives, in addition to counsel, who

shall have unlimited settlement authority and who shall

participate in person, not by telephone or other remote means.

If a party has liability insurance coverage as to any claim made

against the party in this action, a representative of each

insurance company providing such coverage who has full authority

to offer to pay policy limits in settlement shall be present at,

and participate in, the settlement conference in person, not by

telephone or other remote means.         The court expects the parties

to comply with the requirements of Local Civil Rule 16.3 that the

parties make a good faith effort to settle.           Within three (3)

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business days after each such settlement conference, the parties

shall jointly prepare and file a written report, which shall be

signed by all counsel for each party, detailing the date on which

the settlement conference was held, the persons present,

including the capacity of any representative present, a statement

regarding whether meaningful progress toward settlement was made,

and a statement regarding the prospects of settlement.

Plaintiff's counsel is responsible for initiating the settlement

conference and for filing the written report.          All counsel must

participate in the settlement conference and shall sign the

written report.

     17.    This case is not exempt from the requirements for

scheduling orders, pretrial orders or any other orders of the

court.

     18.    No process shall be served upon any person in

attendance at any conference held pursuant to the requirements of

this order.

     19~    Strict compliance with the terms of this order is

required.     Should any party or counsel fail to cooperate in doing

anything required by this order to be done, such party or counsel

or both will be subject to sanctions, including dismissal or




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entry of default without further notice.        pee Fed. R. Civ. P.

16(f).

     SIGNED October 16, 2017.




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                 IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS

                             JOHN MCBRYDE
                     UNITED STATES DISTRICT JUDGE


                    SPECIAL PRETRIAL INSTRUCTIONS

     1.   The Pretrial Order and one copy thereof shall be
delivered to Chambers by 12:00 o'clock noon three (3) business
days prior to the scheduled pretrial conference.

     2.   At least seven business days prior to the scheduled
pretrial conference, counsel for all parties and all pro se
parties shall confer in person with each other for the purpose of
preparing a Pretrial Order. During this conference, counsel and
pro se parties shall (1) exchange drafts of the language that
each party proposes to include in the Pretrial Order, (2)
eliminate from the lawsuit any issue that appears in the
pleadings but about which there is no controversy, (3) agree on
all possible stipulated facts and on all controverted issues of
fact and law, and (4) otherwise discuss the preparation of the
final Pretrial Order.

     3.   All counsel and prose parties are jointly responsible
for preparation of the entire Pretrial Order; however,
plaintiff's counsel and pro se plaintiffs, if any, are
responsible for typing, collating, and otherwise preparing the
final document for presentation to the Court.

     4.    The Pretrial Order must set forth:

     (a)   a concise statement of any pending jurisdictional
           issues;
     (b)   a list of all pending motions;
     (c)   a full and complete statement of plaintiff's claims,
           with specificity;
     (d)   a full and ~omplete statement of each defendant's
           claims, with specificity;
     (e)   a full and complete statement of the claims of any
           other parties, with specificity;
     (fl   a list of the facts established by pleadings, by
           stipulations, or by admissions;
     (g)   an agreed list of the ultimate issues of fact to be
           decided by the fact finder (court or jury) as to each
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            theory of recovery or for affirmative relief and each
            affirmative defense;
      (h)   an agreed list of the contested issues of law;
      (i)   a list of each party's expert witnesses and a summary
            of the opinions to be given by each expert;
      (j)   a list of additional matters that would aid in the
            disposition of the case;
      (k)   an estimate of the length of trial;
      (1)   a statement that the case is jury or non-jury;
      (m)   the signature of the lead attorney for each party; and
      (n)   a place for the date and the signature of the Court,
            which shall be preceded by text on the same page.


All of the matters set forth above shall be contained within the
body of the pretrial order and none shall be attached thereto as
exhibits or attachments. All of the contested and ultimate
issues shall be agreed upon and there will not be separate lists
of ultimate or contested issues submitted by each party.

     5.    Counsel for all parties and all pro se parties are
instructed to cooperate fully in the discovery process and to
make all reasonable discovery available on a timely basis to the
requesting party. Excessive discovery or resistance to
reasonable discovery will not be tolerated by this Court.
Throughout the discovery process, counsel must observe the
standards of litigation conduct for attorneys appearing in civil
actions in the Northern District of Texas, adopted by the judges
of this District, sitting en bane, in Dondi Properties Corp. v.
Commerce Savings and Loan Ass•n, 121 F.R.D. 284 (N.D. Tex. 1988)
Unnecessary discovery or unreasonable delay may subject the
infracting party to sanctions and the payment of costs.   See
Thomas v. Capital Sec. Serv., Inc., 836 F.2d 866 (5th Cir. 1988)
(en bane).

     6.   Lead counsel for each party and each pro_§_~ party shall
be present at the pretrial conference and shall have access, by
telephone or otherwise, to the individual(s) he or she represents
or to a person authorized to make decisions regarding the matter
before the court on behalf of any corporate or other entity a
party to the action.

     7.   Each attorney and each prose party should retain a
copy of the Pretrial Order submitted to the Court. The Clerk
will not provide copies of the signed Pretrial Order.

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